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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT
_________________________________
                                  )
UNITED STATES OF AMERICA          )
                                  )
      v.                          ) CRIMINAL NO. 3:16CR124(SRU)
                                  )
JAMES C. DUCKETT, JR.             )
_________________________________)  DECEMBER 20, 2017

   DEFENDANT’S MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS

      The Defendant respectfully moves this court for permission to appeal his

conviction and sentence in formal pauperis in the above-titled matter, pursuant to Federal

Rule of Appellate Procedure 24. In support of this motion, the Defendant asserts the

following:

      1. The defendant makes specific reference to the attached Affidavit filed in

          support of this motion, [Doc. #129], as demonstrative of his financial

          wherewithal at the present time.

      2. The defendant does not have the financial means to pay or give security for

          fees or costs associated with instituting or maintaining an appeal in the instant

          matter.

      3. The defendant seeks to appeal his conviction and sentence on the grounds of

          insufficiency of the evidence, error(s) related to the jury instructions,

          fundamental fairness of the sentence imposed, and/or other issues to be

          indicated by appellate counsel if necessary.




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Wherefore, it is respectfully moved that the defendant be able to appeal his conviction

and sentence in forma pauperis.


                                         Respectfully submitted,
                                         Defendant, James C. Duckett, Jr.




                                         By     /s/ 29237
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                                     CERTIFICATION


       This is to certify that on December 20, 2017, a copy of the foregoing Motion was

served by email to all parties by operation of the Court’s electronic filing system or by

mail on anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System. Also sent to

the following by U.S. postal mail:


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